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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                             HARRISONBURG DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )      Criminal Action No. 5:11cr00023
                                             )
v.                                           )
                                             )
ZOBINA GILLANI,                              )      By:     Michael F. Urbanski
                                             )              United States District Judge
       Defendant.                            )

                                            ORDER

       This matter was referred to the Honorable James G. Welsh, United States Magistrate

Judge, pursuant to 28 U.S.C. § 636(b)(3), for the purpose of conducting a plea hearing and a plea

colloquy under Rule 11 of the Federal Rules of Criminal Procedure and preparing proposed

findings of fact and a recommendation as to the acceptance of such plea as tendered. The

Magistrate Judge filed a report and recommendation on March 14, 2012, recommending that

defendant’s plea of guilty to Count 2 of the Indictment be accepted. No objections to the report

and recommendation have been filed, and the court is of the opinion that the report and

recommendation should be adopted in its entirety.

       While the court believes that the report and recommendation should be adopted in its

entirety, the court notes two additions to the report and recommendation that must be made. In

the report and recommendation’s summary of all of the relevant charges as to defendant in the

Indictment, Count 58 is mistakenly excluded. Likewise, the report and recommendation’s

discussion of the government’s obligation to dismiss the remaining counts as to defendant

pursuant to the plea agreement also mistakenly excludes reference to Count 58. Thus, the report
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and recommendation, while adopted in its entirety, must be supplemented to include the relevant

information regarding Count 58.

       Count 58 charges that on or about November 27, 2009, defendant, acting as a principal

and as an aider and abettor, did knowingly conduct and attempt to conduct a certain specific

financial transaction described in the Indictment affecting interstate and foreign commerce,

which involved the proceeds of specified unlawful activity, that is trafficking in contraband

cigarettes, with the intent to promote the carrying on of said specified unlawful activity, knowing

that the transaction was designed in whole or in part to conceal and disguise the nature, location,

source, ownership, and control of the proceeds of said specified unlawful activity and that while

conducting and attempting to conduct such financial transaction defendant knew that the

property involved in the financial transaction represented the proceeds of some form of unlawful

activity, all in violation of 18 U.S.C. §§§ 1956(a)(1)(A)(i), 1956(a)(1)(B)(i), and 2. Like the

remaining charges as to defendant in the Indictment, the government is obligated pursuant to the

plea agreement to dismiss Count 58.

       Accordingly, IT IS ORDERED that the Magistrate Judge’s report and the findings and

recommendation contained therein are hereby ACCEPTED IN WHOLE, noting the necessary

additions to the report and recommendation as detailed in this order; defendant’s plea of guilty to

Count 2 of the Indictment is ACCEPTED; and defendant is adjudged GUILTY as to that

offense. The Clerk of Court hereby is directed to send a certified copy of this Order to all

counsel of record.

                                              Entered: April 4, 2012


                                              /s/ Michael F. Urbanski
                                              Michael F. Urbanski
                                              United States District Judge
